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7
8                               IN THE UNITED STATES DISTRICT COURT
9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      )   CASE NO. S-96-00350-12 WBS
                                                    )
12               Plaintiff,                         )
                                                    )
13        v.                                        )   MOTION TO DISMISS INDICTMENT AND
                                                    )   [PROPOSED] ORDER DISMISSING
14   BOA QIN CHEN,                                  )   INDICTMENT
                                                    )
15               Defendant.                         )
                                                    )
16                                                  )
17

18          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States of
19   America, by and through its undersigned attorney, hereby files this motion and proposed order
20   dismissing the indictment with prejudice against defendant Boa Qin Chen.
21

22   DATED: February 24, 2014                           Respectfully submitted,
23                                                      BENJAMIN B. WAGNER
                                                        United States Attorney
24

25                                                 By: /s/ William S. Wong
                                                       WILLIAM S. WONG
26                                                     Assistant U.S. Attorney
27

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              Case 2:96-cr-00350-WBS Document 876 Filed 03/19/14 Page 2 of 2




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2                            IN THE UNITED STATES DISTRICT COURT
3                              EASTERN DISTRICT OF CALIFORNIA
4

5    UNITED STATES OF AMERICA,              ) CASE NO. S-96-00350-12 WBS
                                            )
6               Plaintiff,                  ) ORDER DISMISSING INDICTMENT
                                            )
7        v.                                 )
                                            )
8    BOA QIN CHEN,                          )
                                            )
9               Defendant.                  )
                                            )
10                                          )
11

12         APPROVED AND SO ORDERED.
13   Dated: March 18, 2014
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